                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

Sterling D. Brown,
              Plaintiff,
v.                                               Civil Action No. 2:18-cv-922

City of Milwaukee, et al.
             Defendants.
______________________________________________________________________________

                                JOINT STATUS UPDATE


       NOW COME THE PARTIES, through undersigned counsel, and jointly submit

this status update.

         With the assistance and advice of mediator retired Magistrate Judge David E.

Jones, over the last two weeks settlement discussions between the parties have been

fruitful. Mr. Brown authorized settlement and his attorney, Mark L. Thomsen, has signed

the settlement agreement. Pursuant to his letter to the Honorable Common Council dated

November 4, 2020, City Attorney Tearman Spencer requested authorization to execute

the settlement agreement on behalf of the City of Milwaukee. Accordingly, the parties

respectfully request at least 30-45 days to provide the next status report to this Court.



Respectfully submitted this 6th day of November, 2020.

                               Signatures on subsequent page




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CITY OF MILWAUKEE                        GINGRAS, THOMSEN & WACHS, LLP

/s/Tearman Spencer                       /s/ Mark L. Thomsen
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